Case 2:18-cr-00019-SPC-NPM Document 3 Filed 01/31/18 Page 1 of 5 PageID 5
Case 2:18-cr-00019-SPC-NPM Document 3 Filed 01/31/18 Page 2 of 5 PageID 6
Case 2:18-cr-00019-SPC-NPM Document 3 Filed 01/31/18 Page 3 of 5 PageID 7
Case 2:18-cr-00019-SPC-NPM Document 3 Filed 01/31/18 Page 4 of 5 PageID 8
Case 2:18-cr-00019-SPC-NPM Document 3 Filed 01/31/18 Page 5 of 5 PageID 9
